VERIFICATION
STATEOFR ©) k\® )

COUNTY OF CUMAKOGA  )

I have read the foregoing factual allegations contained in this Verified Complaint and do

hereby certify that they are true and correct to the best of my knowledge.

Fis

Terpgehote Maras
Plaintiff

SWORN TO AND SUBSCRIBED before me this £6 dayof AUG US7 _, 2021.

ym

Notary Public

My Commission Expires:
a SOUHEIL FARAH
of E / 2a 24 Notary Public, State of Ohio
Commission No, 2015-RE-536834
My Commission Expires
July 6, 2025

 

 

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